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:N THE UNITED sTATES DISTRICT cOURT ' *~ ~*
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION USJUH'U PH h=US

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CLEHK,KAS.FMST CT
UNITED STATES OF AMERICAr winch O;: Tw, MEMH-HS,
vS. No. 03-20485-Ma

REMECO PENNINGTON ,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant's June 6, 2005, motion to
reset the sentencing Of Remeco Pennington, Which is presently set
for June 17, 2005. For good cause shown, the motion is granted.
The sentencing cf defendant Remeco Pennington is reset to
Wednesday, July 6, 2005, at 9:00 a.m.

It is so ORDERED this le day cf June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Fhis document entered on the docket sheet m comp?iance

with Ruie 55 and/or 32(b) FRCrP on 6 ”/ ( O?f`f /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 288 in
case 2:03-CR-20485 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

